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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917

                                   8    ANTITRUST LITIGATION                               Case No. C-07-5944 JST

                                   9                                                       ORDER ESTABLISHING SCHEDULE
                                        This Document Relates To:
                                  10
                                        ALL INDIRECT PURCHASER ACTIONS
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Now before the Court is the document denominated "Stipulation and [Proposed] Order

                                  14   Amending Special Master's Scheduling Order No. 1," ECF No. 4172, which the Court treats as an

                                  15   administrative motion to enlarge time. See ECF No. 4181. The Court has carefully considered

                                  16   that motion, as well as the various objections to it. ECF Nos. 4174, 4175, 4177, 4178, 4179, 4180,

                                  17   4183, 4184.

                                  18           Good cause appearing, the Court now amends the Special Master’s Scheduling Order No.

                                  19   1 as follows:

                                  20           1.      Briefs in opposition to the objections – November 20, 2015;

                                  21           2.      Reply briefs by objectors – December 9, 2015;

                                  22           3.      Deadline for the Special Master to file Report & Recommendation – January 15,

                                  23   2016;

                                  24           4.      Deadline for objections to Report & Recommendation – February 5, 2016;

                                  25           5.      Deadline for oppositions to objections – February 19, 2016; and

                                  26           6.      Hearing on final approval of settlement, aggregate attorneys’ fees/costs and

                                  27   incentive awards – March 15, 2016 at 2:00 p.m.

                                  28           The Court has also considered the request that the questions of whether to approve the
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                                   1   class action settlements in the Indirect Purchaser Plaintiff cases and whether to approve the

                                   2   proposed attorneys’ fee awards be heard at different times. The Special Master has determined

                                   3   that the issues should be heard together, and the Court sees no reason at this juncture to disturb

                                   4   that determination. Should the Court decide that it needs more information regarding attorneys’

                                   5   fees before ruling on that issue, ECF No. 4179 at 4-5, it will ask.

                                   6          Finally, a brief note about advocacy in this recently reassigned case. Certain objections

                                   7   argue the merits of the underlying motions. See, e.g., id. at 2 (“The Excluded Plaintiffs have

                                   8   reasonably established that Lead Counsel Alioto’s Proposed Settlement must be rejected because

                                   9   it is unfair and arbitrary.”); ECF No. 4184 at 7 (“The factors to be balanced by the Court in

                                  10   deciding whether a settlement is fair, reasonable and adequate generally fall into the following

                                  11   categories . . .”). The Court discourages counsel from using briefing about one issue to argue the

                                  12   merits of another. There is reading enough as it is.
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: November 12, 2015
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                                                                                                      JON S. TIGAR
                                  16                                                            United States District Judge

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